               THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     BRYSON CITY DIVISION

                     CRIMINAL CASE NO. 2:11cr22-10


UNITED STATES OF AMERICA,                  )
                                           )
                                           )
                  vs.                      )     ORDER
                                           )
                                           )
MICHAEL JAMES TAYLOR.                      )
                                           )


      THIS MATTER is before the Court on the Government’s Motion to

Dismiss Two Assets from Forfeiture [Doc. 280].

      Pursuant to the Settlement Agreement [Doc. 276] between the

Government and the Defendant, in which the Government agreed to dismiss

two assets from the Notice of Forfeiture in the Bill of Indictment, and the Order

[Doc. 278], in which the Court accepted the Settlement Agreement and

entered a Preliminary Order of Forfeiture concerning three real properties, the

Government moves the Court to dismiss with prejudice two assets from

forfeiture.

      For the reasons stated in the Government’s motion, and for cause

shown, the motion is granted.




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     IT IS, THEREFORE, ORDERED that the Government’s Motion to

Dismiss [Doc. 280] is GRANTED, and this proceeding, to the extent the

Government seeks herein to forfeit the following listed assets, is hereby

DISMISSED WITH PREJUDICE:

     •     the sum of approximately $1,137.87 in United States

           currency frozen in bank account #1000056706 at Macon

           Bank on August 19, 2011; and

     •     the sum of approximately $3,495.14 in United States

           currency frozen in bank account # 1000056712 at Macon

           Bank on August 19, 2011.

     IT IS SO ORDERED.

                                        Signed: October 15, 2012




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